 

 

CaS€ lilS-CV-Ol€BA-.]E.]-K|\/| DOCUm€n'[ 5 Filed 08/21/18 Page l Of 2

 

Federa| District Court
l\/|idd|e District
Commonwea|th_' of Pennsy|vania

Joshua A |\/|onighan Taxpayer 5
|ndependent Pennsy|vanians '

Vs

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  , //€~CL/~'/€Tz’
Tom Wo|f Governor _ --~_./___-"-
Commonwea|th of Pennsy|vania / C 6 §§ #

Order
And Now it is Ordered the Circulation Period'for Thifd Party Nomination Papers in the
\'Commenwea'|th ofPennsy|vania is hereby extended days being until

dayof ` .' v ,'2018.

 

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Federal District Court
Middle District
Commonwealth of Pennsylvania

Joshua A l\/lonighan TaXpayer , \
independent Pennsylvanians ' . _ )
yer `

…. _ f l U@.CM!GSV
Tom Wolf Governor , * j W

Commonwealth of Pennsylvania

Order

lt is hereby declared the following conditions effected the voting public of the

commonwealth of Pennsylvania by interference in t'ne circulation period for Nomination

l Papers in the year 2018.

April going back 21 years extreme cold Weather ,
May 50/50 rating
l\/lay 22 dull monsoon fog until august tst dead line.

Mid July sustained monsoon Broad based Flooding. l

